Case 21-30589-MBK           Doc 3959      Filed 06/28/23 Entered 06/28/23 08:32:45                   Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  SHERMAN, SILVERSTEIN,
  KOHL, ROSE & PODOLSKY, P.A.
  Arthur J. Abramowitz
  Alan I. Moldoff
  Ross J. Switkes
  308 Harper Drive, Suite 200
  Moorestown, NJ 08057
  Tel: (856) 662-0700

  Counsel to Substantial Contribution Claimants
                                                                      Case No.:          21-30589
                                                                                      _______________
  In Re:

  LTL Management, LLC,                                                Adv. Pro. No.: _______________

                                                                      Chapter:              11
                                                                                      _______________
  Debtor.
                                                                      Subchapter V:            ✔ No
                                                                                          Yes 

                                                                                      July 11, 2023
                                                                      Hearing Date: _______________

                                                                      Judge:               Kaplan
                                                                                      _______________

                                        ADJOURNMENT REQUEST

 1.                     Ross J. Switkes
           I, ___________________________________,
           ✔ am the attorney for: ______________________________________________________,
                                         Certain Substantial Contribution Claimants
            am self-represented,

           and request an adjournment of the following hearing for the reason set forth below.
                   Motions seeking allowance of substantial contribution claims. Docket Nos. 3949, 3951
           Matter: ________________________________________________________________________
                                          July 11, 2023 at 10:00 a.m.
           Current hearing date and time: ____________________________
                               August 2, 2023 at 10:00 a.m.
           New date requested: ____________________________________
                                            The parties seek to adjourn the motions to the August 2
           Reason for adjournment request: ___________________________________________________
            omnibus hearing date due to scheduling conflicts.
           ______________________________________________________________________________

 2.        Consent to adjournment:
           ✔ I have the consent of all parties.
                                                    I do not have the consent of all parties (explain below):
           ______________________________________________________________________________

           ______________________________________________________________________________
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 I certify under penalty of perjury that the foregoing is true.


        June 27, 2023
 Date: ___________________________                           /s/ Ross J. Switkes
                                                             _______________________________
                                                             Signature




 COURT USE ONLY:

 The request for adjournment is:

 x Granted                                          8/2/2023 at 10:00 am
                                   New hearing date: ________________________           Peremptory

  Granted over objection(s)       New hearing date: ________________________           Peremptory
  Denied


           IMPORTANT: If your request is granted, you must notify interested parties
           who are not electronic filers of the new hearing date.




                                                                                               rev.10/2021

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